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SLF-0274

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

ANDREW RITZ AND MICHAEL RITZ,
Case No. 3:20-cev-13509
Plaintiffs,

v.
; CERTIFICATION OF
NISSAN-INFINITI LT; TRANS UNION, LLC; : STEVEN L. FOX, ESQ.
EQUIFAX INFORMATION SERVICES, LLC; : [IN SUPPORT OF DEFENDANT
and EXPERIAN INFORMATION SOLUTIONS,: NISSAN MOTOR ACCEPTANCE
INC., : CORPORATION’S MOTION FOR
: SUMMARY JUDGMENT
Defendants.

I, STEVEN L. FOX, ESQ., of full age, does hereby certify that:

1. I am an attorney at law in the State of New Jersey and a partner in the law firm of
Lindabury, McCormick, Estabrook & Cooper, P.C., counsel for Defendant Nissan Motor
Acceptance Corporation (hereinafter referred to as “‘NMAC”) improperly pled as Nisan-Infiniti,
LT in the above captioned matter. I make this Certification on personal knowledge derived by me
as counsel for NMAC.

2. I attach hereto as Exhibit “A” a true copy of the Complaint and Jury Demand filed by
Plaintiffs in the above matter.

3. | attach hereto as Exhibit “B” a true copy of the Answer filed on behalf of NMAC in the

above matter.

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4. | attach hereto collectively as Exhibit “C” true copies of Stipulations of Dismissal with
Prejudice as to Defendants Trans Union, LLC; Equifax Information Services, LLC; and Experian
Information Solutions, Inc.

5. I attach hereto as Exhibit “D” a true copy of the Lease Agreement forming the subject
matter of this action as between NMAC and the Plaintiffs.

6. I attach hereto as Exhibit “E” true copies of letters between NMAC and the Plaintiffs in
which the aforesaid Lease Agreement between the parties was extended for three (3) months
ending on August 9, 2019.

7. I attach hereto as Exhibit “F” a true copy of the end of lease document produced by
Plaintiffs in discovery bate stamped “Ritz 000169” to “Ritz 000176” and which is referenced as
Exhibit D-1 in the deposition of Andrew Ritz.

8. I attach hereto as Exhibit “G” a true copy of portions of the deposition transcript of
Andrew Ritz dated September 9, 2021, referred to in the accompanying brief.

9. lattach hereto as Exhibit “H” a true copy of portions of the deposition transcript of Nissan
30(b)(6) representative Deborah Donley dated January 28, 2022, referred to in the accompanying
brief.

10. IL attach hereto as Exhibit “I” a true copy of NMAC’s amended answers to Plaintiffs’ First
Set of Interrogatories. Reference is specifically made to answer to interrogatory number 1; that on
or about September 27, 2019, NMAC received notice that the subject vehicle had arrived at DCH
Freehold Nissan on September 20, 2019, grounded. Prior to then, NMAC had classified the vehicle
as abandoned. Subsections to answers to interrogatory number | describes NMAC’s investigation.

11. l attach hereto as Exhibit “J” a true copy of portions of the deposition transcript of Michael

Ritz dated September 9, 2021, referred to in the accompanying brief.
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12.1 attach hereto as Exhibit “K” a true copy of portions of Andrew Ritz’s answers to
interrogatories.

13.1 attach hereto as Exhibit “L” a true copy of portions of Michael Ritz’s answers to
interrogatories.

14. I attach hereto as Exhibit “M” a true copy of the case cited in NMAC’s brief Tutanji_v.

Bank of America, 2012 WL 1964507.

15. I attach hereto as Exhibit “N” a true copy of the case cited in NMAC’s brief Salvador v.

Fedloan Servicing, 2021 WL 5422292.

16. I attach hereto as Exhibit “O” a true copy of the case cited in NMAC’s brief Esperance v.
Diamond Resorts, 2022 WL 1718039.
17. 1 attach hereto as Exhibit “P” a true copy of the case cited in NMAC’s brief Gatanas v.

American Honda Finance Corporation, 2020 WL 7137854.

18. I attach hereto as Exhibit “Q” a true copy of the case cited in NMAC’s brief Uppal v.

Wells Fargo Bank, N.A., 2020 WL 6150923,

19. I attach hereto as Exhibit “R” a true copy of the case cited in NMAC’s brief Mayer v.
Holiday Inn Club Vacations Inc., 2021 WL 2942674.
20. I attach hereto as Exhibit “S” a true copy of the case cited in NMAC’s brief Slack v.

Suburban Propane Partners, L.P., 2010 WL 3810870.

21.1 attach hereto as Exhibit “T” a true copy of the case cited in NMAC’s brief Young v.

Harbor Motor Works, Inc., 2009 WL 187793.

22. I attach hereto as Exhibit “U” a true copy of the Code of Federal Regulations, Part 580,

Odometer Disclosure Requirements.
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23. I attach hereto as Exhibit “V” a true copy of portions of the deposition transcript of Tanya
Messmer dated August 4, 2021 referred to in the accompanying brief.

24. I attach hereto as Exhibit “W” a true copy of various documents produced by Andrew Ritz
and Michael Ritz in discovery bate stamp referenced “Ritz” referred to in the accompanying brief.

25. I make this Certification in support of NMAC’s motion for summary judgment seeking
dismissal of the Complaint with prejudice as against NMAC.

I certify that the foregoing statements made by me are true. I am aware that if any of my

statements are willfully false that [ am subject to punishment by this Court.

eS

Steven L. Fox, Esq.

Dated: Ruy 3\ \ Zoe ZV
